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 5
     Attorney for Defendant
 6   BOUNSOU VORASANE
 7                                   IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                        )   NO. 1:11-CR-00052 LJO
                                                      )
11                            Plaintiff,              )            SEALING ORDER
                                                      )
12            v.                                      )
                                                      )   Judge: Hon. Lawrence J. O’Neill
13   BOUNSOU VORASANE,                                )
                                                      )
14                            Defendant.              )
15            GOOD CAUSE APPEARING, the Court hereby orders that specific portions of Defendant
16   Bounsou Vorasane’s Notice of Motion and Motion to Suppress Evidence or, Alternatively, For a Franks
17   And In Camera Hearing; Memorandum of Points and Authorities In Support Thereof; Declaration;
18   Exhibits, be filed under seal until further order of the Court, as follows:
19            1. Page 3, lines 11 through 18;
20            2. Page 7, line 20, beginning with the word “The” and continuing through line 21, ending with the
21   word “informant” and
22            3. Exhibit D.
23            Should the Government have an objection, they will be given the opportunity to voice it at the
24   upcoming hearing.
25
26
27
     IT IS SO ORDERED.
28
     Dated:         December 16, 2011                  /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
